                                                                         CLERK'S OFFICE U.S. DIST. COURT
                                                                                 AT RQ.l.NOKE, VA.
                                                                                      FILED

                                                                                FEB 1 2 2019
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGIN~.uuAc. ouoLEY.CLERK
                                ROANOKE DIVISION           .                      ~
   CLARENCE EDWARD                            )
   WHITAKER, on behalf of himself             )
   and as Administrator of the Estate         )       Case No. 7:17-cv-00055
   of Shannon Marie Whitaker,                 )
   deceased,                                  )
                                              )
          Plaintiff,                          )
                                              )
   v.                                         )
                                              )
   HYUNDAI MOTOR COMPANY,                     )       By:   Michael F. Urbanski
   et al.,                                    )       Chief United States District Judge
                                              )
          Defendants.                         )

                                             ORDER

          D efendants Hyundai Motor Company and Hyundai Motor America, Inc.

   ("Defendants") flied their Motion in Limine to Exclude Evidence and Argument Regarding

   Certain Types of Damages on January 25, 2019. ECF No. 155. Plaintiff Clarence Edward

   Whitaker (''Whitaker") responded on February 1, 2019. ECF No. 187. For the reasons stated

   below, Defendants' motion is DENIED as moot.

          Defendants claim that Whitaker intends to seek damages for: (1) Mrs. Whitaker's own

   pain and suffering; (2) bystander damages incurred by the Whitaker boys for having found

   their mother after the incident; and (3) damages for what Mrs. Whitaker would have earned

   had she lived. Defendants argue that Whitaker cannot recover for Mrs. Whitaker's own pain

   and suffering because Virginia law permits recovery only for the beneficiaries' losses. The

   Virginia Wrongful Death Act states that a beneficiary may recover for his or her sorrow,

   mental anguish, and solace which may include society, companionship, comfort, guidance,



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   kindly offices and advice of the decedent. Va. Code Ann. §8.01-52(1). All courts that have

   considered this question have detennined that this refers only to the beneficiaries' anguish,

   not that of the decedent. Defendants cite to El-Meswari v. Wash. Gas Light Co., 785 F.2d

   483, 491 (4th Cir. 1986) in support of their motion.

          Defendants also expect Whitaker to argue that Mrs. Whitaker's children should

   recover damages for their own distress in finding their mother. They argue this is not

   pennissible-Mrs. Whitaker's children did not suffer physical injuries of their own and were

   not in the zone of danger so as to be frightened for themselves. Hughes v. Moore, 214 Va.

   27, 197 S.E.2d 214, 219-20 (1973) . Finally, Defendants expect Whitaker to argue he should

   recover an amount equal to his wife's projected earnings (salary and benefits) had she lived.

   §8.01-52(2) of the Virginia Code permits wrongful death beneficiaries to recover for their

   "reasonably expected loss of income of the decedent," meaning what the beneficiaries

   reasonably expected and lost, not what the decedent would have earned. Wilson v. United

   States, 637 F. Supp 669, 672 (E.D. Va. 1986). Furthermore, Defendants' argue that Whitaker

   has no right to recover any pecuniary losses the beneficiaries may have suffered because he

   has not disclosed any. Fed. R. Civ. P. 26(a)(1)(A)(iii) requires parties disclose computation of

   damages. Whitaker, however, did not do so. Defendants claim that during discovery,

   Whitaker said many times he was going to hire an economist yet never did. When explicitly

   asked what damages he would claim for the beneficiaries in an interrogatory, Whitaker did

   not answer the question. ECF No. 155-1, at 9. Because this is not a harmless error and is not

   substantially justified, Whitaker cannot now claim any reasonably expected losses.




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          Whitaker responds that he has no intention of asking for damages for Mrs.

   Whitaker's own pain and suffering or for bystander damages for the Whitaker boys. All the

   same, Whitaker argues that "the circumstances surrounding Mrs. Whitaker's death and the

   emotional shock the Whitaker boys suffered upon seeing their mother pinned between the

   house and her car and Clarence Whitaker coming upon the scene are part and parcel of their

   right to recover mental anguish under the wrongful death act." Virginia Iron, Coal & Coke

   Co. v. Odie's Admr., 128 Va. 280, 280 105 S.E. 107, 116 (1970) (abrogated on other

   grounds). As for pecuniary loss, Whitaker says he plans to present evidence of Mrs.

   Whitaker's employment and the income she contributed to the family, testify to the

   reasonably expected loss of income suffered by the beneficiaries, and offer Mrs. Whitaker's

   life expectancy into evidence. Whitaker argues this will permit a jury to determine the value

   of the reasonably expected loss of income to Mrs. Whitaker's beneficiaries. The jury does

   not require expert testimony to make this determination. Whitaker claims that he has been

   deposed on the issue of economic loss and Mrs. Whitaker's contribution to the family's

   living expenses. He also claims that Defendants have Mrs. Whitaker's employment and

   payroll records. Thus, there is no unfair surprise.

          Virginia law bars recovery for the decedent's pain and suffering in a wrongful death

   case and has never recognized bystander damages in circumstances such as these. See El-

   Meswari, 785 F.2d at 488 (citing Hughes, 214 Va. at 34, 197 S.E.2d at 219-20) (''Virginia law

   does not as an independent goal try to restore mental tranquility shaken by witnessing or

   contemplating negligently inflicted injury). The Virginia Wrongful Death Statute does permit

   recovery for the beneficiaries' mental anguish, however, and while El-Meswari noted that


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   this claim "addressed itself only to the reaction provoked 'by reason of the death' of [the

   decedent]," not how this anguish might have been heightened by an awareness of the

   circumstances of death, id. at 488, other cases have permitted the introduction of evidence

   regarding decedent's pain and suffering to enable the jury to estimate the mental anguish of

   the beneficiaries. Sciortino v. Piccioni, 88 Va. Cit. 106, at *2 (2014) (discussing Virginia Iron,

   Coal, and Coke Co., 128 Va. at 280, 105 S.E. at 116). There is nothing in Virginia law that

   bars evidence of the circumstances of a decedent's death in a wrongful death action, and

   Whitaker claims no intention to request damages for Mrs. Whitaker's pain and suffering or

   bystander damages for the Whitaker children. The court DENIES Defendants' motion in

   limine to prohibit evidence and argument regarding either source of damages as moot.

          Finally, as Whitaker claims to have turned over employment and payroll records to

   Defendants and been deposed on the issue of reasonably expected loss of income, Whitaker

   may testify consistent with deposition testimony and documents produced in discovery. The

   court DENIES Defendants' motion to exclude evidence and argument of reasonably

   expected loss of income of Mrs. Whitaker. The court will address any attempted

   introduction of evidence exceeding what was produced during discovery at trial, as

   necessary.

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